               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 CYNTHIA JOHNSON,

                      Plaintiff,
                                                    Case No. 24-CV-1293-JPS-JPS
 v.

 CROWDVEST, LLC,
                                                                    ORDER
                      Defendant.



       In October 2024, Plaintiff Cynthia Johnson (“Plaintiff”) filed a

putative class action complaint against Defendant Crowdvest LLC

(“Defendant”) for “routinely violat[ing] 47 U.S.C. § 227(c)(5) and 47 C.F.R.

§ 64.1200(c)(2) by delivering more than one advertisement or marketing text

message to residential or cellular telephone numbers registered with the

National Do-Not-Call Registry (“DNC Registry”) without . . . prior express

invitation or permission.” ECF No. 1 at 1. Defendant failed to file a

responsive pleading or otherwise defend against the action following

timely service of process. ECF No. 3; Dec. 30, 2024 text order; Fed. R. Civ. P.

12(a)(1)(A)(i). In January 2025, Plaintiff requested, and the Clerk of Court

entered, default against Defendant. ECF No. 4 and Jan. 16, 2025 docket

entry. Plaintiff then moved the Court to conduct limited discovery related

to a forthcoming motion for class certification. ECF No. 5. The Court

granted Plaintiff’s motion on March 13, 2025. ECF No. 6. Later in March,

Defendant—in its first and only filing on the docket—filed a Rule 68 Offer

of Judgment. ECF No. 7.




Case 2:24-cv-01293-JPS       Filed 05/19/25     Page 1 of 11     Document 11
        Now before the Court is Plaintiff’s motion to compel discovery from

Defendant and request for a status conference, ECF No. 9, and Plaintiff’s

separate motion to strike Defendant’s Rule 68 Offer of Judgment, ECF No.

8. For the reasons stated herein, the Court will grant in part and deny in

part Plaintiff’s motion to compel discovery, ECF No. 9, and will deny

Plaintiff’s motion to strike Defendant’s Rule 68 Offer of Judgment, ECF No.

8.

1.      MOTION TO          COMPEL       AND      REQUEST      FOR   STATUS
        CONFERENCE

        In moving to compel, Plaintiff requests four forms of relief from the

Court: (1) a finding that Defendant has “waived all of its objections,” (2) an

order compelling Defendant to respond to Plaintiff’s discovery requests,

(3) an award to Plaintiff for her reasonable attorneys’ fees in moving to

compel discovery; and (4) the scheduling of a status conference related to

the issue of Defendant’s sporadic participation in this case. ECF No. 9 at 9–

10, 11. The Court will grant all forms of relief except for the status

conference.

        1.1    Finding that Defendant Waived Its Objections to Plaintiff’s
               Discovery Requests
        Federal Rules of Civil Procedure 33, 34, and 36 govern the various

types    of   discovery   Plaintiff   has   requested   of   Defendant   here:

Interrogatories, Requests for Production, and Requests for Admission. See

ECF No. 9-1. Rule 33 contains an automatic waiver provision, meaning that

a party who fails to timely object to an opposing party’s interrogatories will

automatically be found to have waived any objections thereto. Fed. R. Civ.

P. 33(b)(4). The Court may excuse a party’s failure to timely object, but only

“for good cause.” Id. And while Rules 34 and 36 do not contain an automatic



                                  Page 2 of 11
Case 2:24-cv-01293-JPS        Filed 05/19/25     Page 2 of 11   Document 11
waiver provision, courts have uniformly “permitt[ed] a finding of waiver

where objections are not timely made and the objector cannot show good

cause for the delay.” Autotech Techs. Ltd. P’ship v. Automationdirect.Com, Inc.,

236 F.R.D. 396, 398 n.2 (N.D. Ill. 2006) (citing Fonville v. District of Columbia,

230 F.R.D. 38, 42 (D.D.C. 2005) and McCormick v. City of Lawrence, No. 02-

2135, 2005 WL 1606595, at *4 (D. Kan. July 8, 2005)); id. at 398 (“Failure to

timely assert objections to discovery requests may result in a waiver of all

objections that could have been seasonably asserted.” (collecting cases)).

       In the present case, Defendant has declined to file a response to

Plaintiff’s motion to compel or in any other way defend its failure to

provide responses to Plaintiff’s discovery. Defendant has therefore clearly

failed to show good cause for its lack of timely objections. Accordingly, the

Court finds that Defendant has waived all objections to Plaintiff’s

previously served discovery, ECF No. 9-1.

       1.2     Order Compelling Defendant to Respond to Plaintiff’s
               Discovery Requests
       “A party may file a motion to compel discovery under Rule 37 of the

Federal Rules of Civil Procedure where another party fails to respond to a

discovery request . . . .” Broan-Nutone LLC v. Conglom Hong Kong Ltd., No.

23-CV-393-JPS, 2024 WL 4554024, at *2 (E.D. Wis. Oct. 23, 2024) (quoting

Kodish v. Oakbrook Terrace Fire Prot. Dist., 235 F.R.D. 447, 449 (N.D. Ill. 2006)).

District courts have “broad discretion in matters relating to discovery,” and

“there is a strong public policy in favor of disclosure of relevant materials.”

Patterson v. Avery Dennison Corp., 281 F.3d 676, 681 (7th Cir. 2002) (citing

Packman v. Chi. Trib. Co., 267 F.3d 628, 646–47 (7th Cir. 2001) and Rennie v.

Dalton, 3 F.3d 1100, 1110 (7th Cir. 1993)).




                                   Page 3 of 11
Case 2:24-cv-01293-JPS         Filed 05/19/25     Page 3 of 11      Document 11
       The Court has already determined that Plaintiff is entitled to conduct

limited discovery related to class certification and damages prior to moving

for default judgment. See generally ECF No. 6. In moving to compel, Plaintiff

provides ample authority to support that the discovery she seeks is

reasonably calculated to lead to information relevant to class certification

and damages. ECF No. 9 at 6–9. Because Defendant failed to respond to

Plaintiff’s motion, it has waived any arguments to the contrary. See United

States v. Doyle, 693 F.3d 769, 771 (7th Cir. 2012) (“Waiver occurs when a

defendant or [its] attorney . . . declines[] to assert a right.”). The Court will

accordingly grant Plaintiff’s motion and order Defendant to respond to

Plaintiff’s previously served discovery, ECF No. 9-1, by June 2, 2025.

       1.3     Award of Reasonable Attorneys’ Fees to Plaintiff

       A party who prevails in compelling discovery is entitled to a

mandatory award of attorneys’ fees incurred in moving to compel unless

(1) “the movant filed the motion before attempting in good faith to obtain

the discovery without court action,” (2) “the opposing party’s responses or

objections were substantially justified,” or (3) “other circumstances make

an award of expenses unjust.” Fed. R. Civ. P. 37(a)(5)(A). The Court must

“require the party . . . whose conduct necessitated the motion . . . to pay the

movant[] . . . .” Id.

       This provision clearly applies here, where Defendant has failed to

respond to Plaintiff’s discovery requests entirely and has failed to indicate

when or whether it will respond, despite Plaintiff’s numerous inquiries.

ECF No. 9-4. Because Defendant’s conduct necessitated Plaintiff’s motion

to compel, Plaintiff made several good faith attempts to obtain the

discovery prior to moving to compel, and Defendant has not demonstrated

any reason why an award of expenses would be unjust—indeed, Defendant


                                  Page 4 of 11
Case 2:24-cv-01293-JPS        Filed 05/19/25     Page 4 of 11     Document 11
has not defended against Plaintiff’s motion in any way—the Court will

award Plaintiff her reasonable attorneys’ fees incurred in moving to

compel. Accordingly, Plaintiff will be ordered to file a statement of

reasonable attorneys’ fees related to moving to compel, along with any

supporting documentation, on or before May 27, 2025. Defendant will then

be ordered to pay Plaintiff in accordance with that statement, or to

otherwise challenge its reasonableness, within 60 days of its filing.

       1.4    Status Conference

       Plaintiff also requests that the Court schedule a telephonic status

conference “to afford the parties an opportunity to address the bizarre

procedural posture involving Defendant’s pseudo-participation in the

case.” ECF No. 9 at 9. The Court does not typically hold hearings in this

situation, instead ruling based on the written motions and relevant

authority. Each issue that is currently before the Court will be disposed of

within this Order. Accordingly, Plaintiff’s motion for a hearing will be

denied. To the extent that Plaintiff finds a hearing necessary in the future,

she may again move for one and the Court will consider whether it is

warranted at that time.

2.     MOTION TO STRIKE RULE 68 OFFER OF JUDGMENT

       Federal Rule of Civil Procedure 68(a) provides a cost-shifting

mechanism whereby a defendant may serve an opposing party with “an

offer to allow judgment on specified terms, with the costs then accrued.” If

the receiving party fails to accept the offer within 14 days, or otherwise

rejects the terms of the offer, it is “considered withdrawn,” but may be

utilized in determining costs, because “[i]f the judgment that the offeree

finally obtains is not more favorable than the unaccepted offer, the offeree

must pay the costs incurred after the offer was made.” Fed. R. Civ. P. 68(b),


                                 Page 5 of 11
Case 2:24-cv-01293-JPS       Filed 05/19/25     Page 5 of 11    Document 11
(d). As a matter of course, “a Rule 68 offer is not filed until it is accepted or

until it is presented to the [C]ourt when the defendant seeks to recover

costs.” Wilder Chiropractic, Inc. v. Pizza Hut of Southern Wis., 754 F. Supp. 2d

1009, 1013 (W.D. Wis. 2010) (quoting 13 MOORE’S FED. PRAC. § 68.03[3] (3d

ed. 2010)). For reasons that are unknown to the Court, Defendant did file its

Rule 68 offer in this case, however, even though Plaintiff did not accept its

terms. ECF No. 7; ECF No. 8 at 1.

       Plaintiff now moves the Court to strike the unaccepted Rule 68 offer,

though its argument leaves the Court wondering whether it wants the offer

stricken from the docket, declared ineffective, or both. ECF No. 8; see

Williams v. Amazon.com, Inc., 312 F.R.D. 497, 498 (N.D. Ill. 2015) (noting, in a

similar situation, that the plaintiff’s “motion to strike” requested two forms

of relief: “first, for the court to strike from [the record] the . . . Rule 68 offer;

and second, for the court to declare invalid the . . . Rule 68 offer”). The Court

will accordingly address both avenues of relief.

       Per the Court’s protocols, ECF No. 2 at 10–11, Plaintiff conferred

with Defendant prior to filing the motion and certifies that Defendant’s

counsel “stated that he would look into the issue, but did not commit to a

voluntary withdrawal.” ECF No. 8 at 5. Defendant did not respond to the

motion and therefore has waived any arguments in opposition to striking

the filing. Doyle, 693 F.3d at 771 (7th Cir. 2012).

       Plaintiff makes several arguments in support of striking the Rule 68

Offer of Judgment, none of which the Court finds persuasive. First, Plaintiff

argues that the Rule 68 offer was “wrongly filed.” ECF No. 8 at 1. While that

may be the case, Plaintiff provides no support for the Court’s authority to

strike the offer simply because Plaintiff believes it should not have been

filed, especially when Defendant has not conceded that it was filed in error.


                                   Page 6 of 11
Case 2:24-cv-01293-JPS         Filed 05/19/25      Page 6 of 11      Document 11
Plaintiff separately argues that the motion should be stricken as

“procedurally improper” because Defendant is subject to a default and filed

the offer without first moving to vacate the default. Id. at 3. Once again,

Plaintiff provides no authority that suggests the Court should strike the

filing in this instance, instead citing only orders that strike answers that were

filed when the party was subject to default. Id. at 3 (citing United States v.

Wade, No. 16-330-DRH-DGW, 2016 U.S. Dist. LEXIS 121416, at *2 (S.D. Ill.

Sept. 8, 2016) and Emps. & Operating Eng’rs Local 520 v. Sherrell Constr., Inc.,

No. 16-213-DRH-SCW, 2016 U.S. Dist. LEXIS 43805, at *4 (S.D. Ill. Mar. 31,

2016)).

          Second, Plaintiff argues that the filed offer is an “act of procedural

gamesmanship”; that it is just an “attempt to ‘pick off’ a named plaintiff to

evade class liability.” ECF No. 8 at 2. This language of “pick[ing] off” a

named plaintiff appears to come from Mavris v. RSI Enters., Inc., which

describes “two ways in which defendants attempt to use Rule 68 to pick off

class representatives.” 303 F.R.D. 561, 563 (D. Ariz. 2014). The first is to

attempt to moot the case entirely before the plaintiff can move to certify the

class. Id. (citation omitted). But this argument is outdated because the

Seventh Circuit and later the Supreme Court have expressly held that such

an offer to a class representative does not moot the class action if refused.

Chapman v. First Index, Inc., 796 F.3d 783, 787–88 (7th Cir. 2015) (overruling

prior cases that held “that a defendant’s offer of full compensation moots

the litigation”); Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 165 (2016) (“[A]n

unaccepted . . . offer of judgment does not moot a plaintiff’s [class action]

case . . . .”). The second method of picking off a class representative is by

“threatening the plaintiff with Rule 68’s cost-shifting provision before the




                                   Page 7 of 11
Case 2:24-cv-01293-JPS         Filed 05/19/25     Page 7 of 11    Document 11
class has been certified.” Mavris, 303 F.R.D. at 563 (citation and internal

quotation marks omitted).

       Each of the cases Plaintiff cites in support of this argument of

gamesmanship, however, precede the Supreme Court’s Campbell-Ewald

decision, wherein the Court “seems to foreclose” the argument that a Rule

68 offer is invalid in a class action case when offered to the plaintiff pre-

class certification. Spice v. Blatt, Hasenmiller, Leibsker & Moore, LLC, No. 1:16-

CV-366-TSL, 2017 WL 4129743, at *1 (N.D. Ind. Sept. 19, 2017) (citing

Campbell-Ewald, 577 U.S. 153). As a court in the Northern District of Indiana

pointed out on a similar motion to strike, if “an offer of judgment made to

a named plaintiff before a class is certified is automatically ineffective

(whether accepted or not) [and should thus be stricken as such], there

would have been no need for the Supreme Court to rule” in Campbell-Ewald.

Id. at *2. But the Supreme Court did rule in Campbell-Ewald, and, in doing

so, commented specifically on the cost-shifting sanction in Rule 68,

declining to limit its application to certain types of cases. See id. (citing

Campbell-Ewald, 577 U.S. at 671). The Northern District of Indiana court thus

found “no basis to strike the offer of judgment, or to otherwise rule on its

effect.” Id. The Court here finds the same and will thus deny Plaintiff’s

motion to strike insofar as it seeks a declaration that Defendant’s Rule 68

offer is ineffective. This ruling is consistent with recent decisions from

courts within the Seventh Circuit and within sister circuits. See id. at *2;

Williams, 312 F.R.D. at 499 (“Nothing in the text of Rule 68, Rule 23, or any

other rule or statute supports the existence of . . . an exception” suggesting

that Rule 68 does not apply to putative class actions); id. at 500 (“[T]he

Seventh Circuit has no problem applying Rule 68 in putative class

actions.”); Kepler v. Mike Topanga, Inc., No. 8:23-cv-01789-FWS-JDE, 2024 WL


                                  Page 8 of 11
Case 2:24-cv-01293-JPS        Filed 05/19/25     Page 8 of 11      Document 11
1343304, at *4 (C.D. Cal. Jan. 26, 2024) (denying motion to strike Rule 68

offer); Murphy v. Labor Source, LLC, No. 19-cv-1929, 2022 WL 378142, at *25

(D. Minn. Feb. 8, 2022) (same); Doughty v. CentralSquare Techs., LLC, No.

CIV-20-500-G, 2021 WL 2784470, at *1–2 (W.D. Okla. July 1, 2021) (same);

Davis v. Post Univ., Inc., 497 F. Supp. 3d 1252, 1270 (S.D. Fla. 2019) (same);

but see Rathmann v. Ford Motor Co., No. 6:21-CV-00610-ADA-JCM, 2023 WL

9105673, at *3–4 (W.D. Tex. Nov. 15, 2023) (granting motion to strike rule 68

offer).

          To the extent that Plaintiff seeks the relief of striking Defendant’s

Rule 68 offer from the docket, it has provided no relevant rules or authority

to support this relief. United States v. Head, 734 F. Supp. 3d 806, 825 (N.D.

Ill. 2024) (“[A]rguments that are unsupported by pertinent authority[] are

waived . . . .” (quoting United States v. Berkowitz, 927 F.2d 1376, 1384 (7th

Cir. 1991))). Accordingly, the Court will also deny Plaintiff’s motion to

strike insofar as it seeks that Defendant’s Rule 68 Offer, ECF No. 7, be

stricken from the record. This portion of the relief, however, will be denied

without prejudice. If Plaintiff believes that it can bring a good faith motion

to strike the Rule 68 offer from the docket, it may renew that portion of the

motion, taking care to provide pertinent authority by which the Court

should grant such relief.

III.      CONCLUSION

          Plaintiff’s motion to compel will be granted insofar as it seeks (1) a

finding that Defendant has waived all objections to her previously served

discovery, (2) an order compelling Defendant to respond to Plaintiff’s

previously served discovery, and (3) an award of reasonable attorneys’ fees

incurred in moving to compel discovery. Plaintiff’s motion to compel will

be denied to the extent it seeks a status conference at this juncture.


                                   Page 9 of 11
Case 2:24-cv-01293-JPS         Filed 05/19/25     Page 9 of 11    Document 11
      Because Plaintiff has not provided any persuasive authority to

suggest that the Court should strike the Rule 68 offer from the docket, nor

has it convinced the Court that declaring the offer invalid is appropriate,

the Court will deny the motion entirely.

      Accordingly,

      IT IS ORDERED that Plaintiff Cynthia Johnson’s Motion to Compel,

ECF No. 9, is GRANTED in part and DENIED in part; the motion is

GRANTED to the extent it seeks to compel responses to previously served

discovery, ECF No. 9-1, and DENIED to the extent it seeks a status

conference;

      IT IS FURTHER ORDERED that Defendant Crowdvest, LLC,

having waived all objections to Plaintiff Cynthia Johnson’s previously

served discovery requests, ECF No. 9-1, shall fully respond to those

requests, in writing and with production of appropriate documents, on or

before June 2, 2025;

      IT IS FURTHER ORDERED that Defendant Crowdvest, LLC shall

pay Plaintiff Cynthia Johnson’s reasonable attorneys’ fees associated with

moving to compel discovery within 60 days from the day Plaintiff Cynthia

Johnson files her statement of reasonable attorneys’ fees associated with

moving to compel;

      IT IS FURTHER ORDERED that Plaintiff Cynthia Johnson shall file

a statement of reasonable attorneys’ fees associated with moving to compel

along with appropriate documentation, on or before May 27, 2025; and

      IT IS FURTHER ORDERED that Plaintiff Cynthia Johnson’s Motion

to Strike Rule 68 Offer of Judgment, ECF No. 8, be and the same is hereby

DENIED; the denial will operate with prejudice to the extent it seeks a




                               Page 10 of 11
Case 2:24-cv-01293-JPS     Filed 05/19/25 Page 10 of 11       Document 11
declaration that the Rule 68 offer is ineffective and without prejudice to the

extent it seeks to strike the Rule 68 offer, ECF No. 7, from the docket.

       Dated at Milwaukee, Wisconsin, this 19th day of May, 2025.

                                   BY THE COURT:



                                   ____________________________________
                                   J. P. Stadtmueller
                                   U.S. District Judge




                                Page 11 of 11
Case 2:24-cv-01293-JPS      Filed 05/19/25 Page 11 of 11         Document 11
